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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     EUGENE DIVISION


JANE DOE,
                                                       Civil No. 6:18-cv-01432-MC
                       Plaintiff,
        v.
                                                    DISMISSAL WITH PREJUDICE
OREGON STATE UNIVERSITY,

                       Defendant.



                        ORDER DISMISSING WITH PREJUDICE AND WITHOUT
                            ATTORNEYS' FEES OR COSTS

        Upon consideration of the Parties' Stipulation for Voluntary Dismissal with Prejudice,

and finding good cause supporting the same, the Court thereby dismisses Plaintiffs Complaint

against Oregon State University with prejudice and without attorneys' fees or costs on this Z'f

dayof        ~~1.J..    2018 hereby ORDERED that the Motion is GRANTED.




                                                    United States District Judge
                                                    United States District Court for the District
                                                    of Oregon




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